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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,
                                                         Case No. 21-CR-91-3 (RCL)
        v.

 TAYLOR JAMES JOHNATAKIS,

        Defendant.


        MOTION FOR ORDER FOR MENTAL COMPETENCY EVALUATION
       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby respectfully requests that the Court enter the attached proposed

order regarding the completion of a mental competency examination for defendant Taylor James

Johnatakis.

       On March 23, 2023, the Court held a status conference in this case. During the hearing,

defendant Johnatakis addressed the Court. After observing defendant Johnatakis’s demeanor and

assessing his statements, the Court expressed concern about his ability to understand the nature

and consequences of the proceedings. After finding that defendant Johnatakis seemed to be

suffering from a mental disease or defect rendering him mentally incompetent, the Court orally

ordered that defendant Johnatakis undergo an evaluation to determine his mental competency to

stand trial, as provided by 18 U.S.C. § 4241(b).

       Following the hearing, the government contacted a licensed psychologist, Dr. Brent J.

O’Neal, who is located in Seattle, Washington about completing the competency evaluation for

defendant Johnatakis. Dr. O’Neal indicated that he has the availability to complete the evaluation

and report for the Court within two months of entry of the Court’s order. The government conferred

with defense counsel, Chris Black, and Mr. Black has no objection to Dr. O’Neal’s retention to

complete the evaluation.
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       Accordingly, the government requests that the Court enter the attached proposed order for

a hearing to determine the mental competency of defendant Johnatakis, pursuant to 18 U.S.C.

§ 4241(a), and for a psychiatric or psychological examination of the defendant and for a report to

be filed with the Court, pursuant to 18 U.S.C. § 4241(b). The government requests that defendant

Johnatakis be ordered to report for the evaluation with Dr. O’Neal by April 28, 2023, and to comply

with the requirements of the examiner as necessary to conduct the examination and prepare the

report pursuant to 18 U.S.C. § 4247(b) and (c).

                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
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